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^AO I99A (Rev. 6/97) Order Setiiti" Conditions of Release                                                                   Page I 0    Pages




                                      United States District Coui
                                                 Eastern            District of         Virginia         ^ afflK,U,S. DISraiCTCOUBT
                                                                                                                  ALEXiWDftw vtHKiwiA


                    United States of America
                                                                        ORDER SETTING CONDITIONS
                                                                                        OF RELEASE
                                 V.



 1                                                                  Case Number:
                                                                              |
                            Defendant


 IT IS ORDERED that the release of the defendant is subject to the following conditions:

           (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

           (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any change in
                  address and telephone number.

           (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

                  directed. The defendant shall appear at (if blank, to be notified)               United States District Court
              \     4w-CaurthounQ Sq.. AIlajiuJuj'.-VA         on

                      CLtvoVOi-V-                                                             Dale and Time




                                         Release on Personal Recognizance or Unsecured Bond

 IT IS FURTHER ORDERED that the defendant be released provided that:

(^ )(4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
 (       )(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                                                                                                              dollars ($_                 )
                  in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                    DISTRIBUTION:       COURT      DEFENDANT    PRETRIAL     SERVICES       U.S. ATTORNEY       U.S. MARSHAL
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